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AQ 245B (Rev. 09/11) Judgment in Criminal Case
Sheet 2 — Imprisonment

Judgment — Page 2 of 6

 

DEFENDANT: porIs ELIZABETH NELSON
CASE NUMBER: 2:11CR00159-RHW-1

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of: 108 month(s)

rv The court makes the following recommendations to the Bureau of Prisons:

The Court recommends that defendant serve her sentence at the facility in Dublin, California due to her medical issues.

_| The defendant is remanded to the custody of the United States Marshal.

[] The defendant shall surrender to the United States Marshal for this district:
CT) at Oo am (CL) pm on

 

[| as notified by the United States Marshal.

y ‘The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

[1 before 2 p.m. on

 

yw as notified by the United States Marshal.

C1  asnotified by the Probation or Pretrial Services Office.

RETURN

[have executed this judgment as follows:

Defendant delivered on f »: y | | o| a oO} C to FOr AL C9 pill

at Alico MS Ne A L , with a certified copy of this judgment.
7

\WWordeo, A Wads astoa- Addtuc:
FILED IN THE UNITED STATES MARSHAL

U.S. DISTRICT COURT
EASTERN DISTRICT OF WASHINGTOR

APR 2p 2015 & py C50, “L Dra

 

 

DEPUTY UNITED STATES MARSHAL

SEAN F. McAVOY. CLERK
DEPUTY
SPOKANE, WASHINGTON

 

 

 
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AO 245B (Rev. 09/11) Judgment in a Criminal Case
Sheet 1 Revised by WAED - 06/13

FILED IN THE
US. DISTRICT COURT

UNITED ST ATES DISTRICT COURT EASTERN DISTRICT OF WASHINGTON
Eastern District of Washington Nov 14, 2014

 

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE J sean r. wcavoy, clerk
Vv.
DORIS ELIZABETH NELSON Case Number: 2:11CR00159-RHW-1
USM Number:  14003-085
Elizabeth Kelley and Jeffry Finer
Defendant’s Attorney
THE DEFENDANT:

VY pleaded guilty to count(s} 1-71, 72-93, and 94-110 of the Superseding Indictment

CJ pleaded nolo contendere to count(s)
which was accepted by the court.

 

C1] was found guilty on count(s)
after a plea of not guilty.

 

The defendant is adjudicated guilty of these offenses:

 

Title & Section Nature of Offense Offense Ended Count
18 ULS.C. § 1343 Wire Fraud WA S1-71
18 ULS.C. § 1341 Mail Fraud 11/17/11 S72 to

$93
18 U.S.C. § 1956(a)(2)(A) International Money Laundering 117/11 S94 to
S110
The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.

C1] The defendant has been found not guilty on count(s)

 

Count’ s) original Indictment iv is L] are dismissed on the motion of the United States.

 

It is ordered that the defendant must notify the United States attomey for this district within 30 days of any change of name, residence,

or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

11/3/2014

Date of Imposition of Judgment
i
og

Signature of Judge

 

 

 

R F C FE i VE [) The Honorable Robert H. Whaley Senior Judge, U.S. District Court
i .

Name and Title of Judge

APR 2 & 2015 November 14, 2014

Date

CLERK, U.S. DISTRICT COURT
SPOKANE, WA

 

 
